
This was an application for a Writ of Error to a judgment of the Superior Court of Law for Augusta county, whereby the petitioner was sentenced to be confined in the Public Jail and Peuitentiary-house, for the term of four years.
The prisoner was indicted as a free man of colour, of the forgery “of a paper writing to the prejudice of the right” of one Jacob Coiner. The indictment was found by the Grand Jury at the Superior Court which commenced its session on the 15th September, 1823, and the trial took place at the same term. The time alleged in the Indictment when the offence was committed, was the tenth of May, 1823.
*By the Act of Assembly which passed on the 23d February, 1819, the offence which was charged on the prisoner, was punishable by confinement in the Public Jail and Penitentiary-house, for “not less than one, nor more than ten years.” (a)
By an Act which passed on the 21st February, 1823, (b) it is enacted in the 3d section, that “when any free negro or mulatto shall be convicted of an offence, now by Law punishable by imprisonment in the Jail and Penitentiary-house for more than two years, such persqn, instead of the confinement now prescribed by Law, shall be punished with stripes, at the discretion of the jury, shall moreover be adjudged to be sold as a slave, and transported and banished beyond the limits of the United States, &amp;c.”
By the 5th section of the same Law, all Laws coming within the purview of this Law, are repealed, and there is no proviso in the clause of repeal, exempting offences previously committed from the operation of the repeal, or authorising proceedings to be had under the former Law, for offences committed before.
By the last section, the Law is to commence on the 1st August, 1823; on that da3r the *280former Law ceased, and the offence committed before, was made the subject of Indict-mentafter the expiration of the Law.
The Writ of Error was awarded, and the pleading's’on that Writ having been made up, WHITE, J., delivered the opinion of the Court: That there was no Law in force for the punishment of the offence, whereof the said Attoo was convicted at the time of the said conviction ; (c) that the judgment of the Superior Court was therefore erroneous, and must be reversed; and the prisoner acquitted and discharged, and go thereof, without day.

 1 Rev. Code of 1819, ch. 151, § 4, p. 580.


 Acts of 1832, ch. 83.


 See Scutt’s Case, Ante.

